         Case 2:16-bk-13575-ER                    Doc 178 Filed 08/12/16 Entered 08/12/16 16:35:23                                         Desc
                                                    Main Document    Page 1 of 2

 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
Jeremy V. Richards (CA SBN 102300)
John D. Fiero (CA SBN 136557)                                                                              FILED & ENTERED
Gail S. Greenwood (CA SBN 169939)
Victoria A. Newmark (CA SBN 183581)
PACHULSKI STANG ZIEHL & JONES LLP                                                                                  AUG 12 2016
10100 Santa Monica Blvd., 13th Floor
Los Angeles, CA 90067
Telephone: 310/277-6910                                                                                      CLERK U.S. BANKRUPTCY COURT
Facsimile: 310/201-0760                                                                                      Central District of California
                                                                                                             BY penning DEPUTY CLERK
E-mail: jrichards@pszjlaw.com
         jfiero@pszjlaw.com
         ggreenwood@pszjlaw.com
         vnewmark@pszjlaw.com

     Individual appearing without attorney
                   Official Committee of Creditors Holding
     Attorney for: Unsecured Creditors
                                      UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES                                               DIVISION

In re:                                                                       CASE NO.: 16-13575-TD
LIBERTY ASSET MANAGEMENT CORPORATION,
                                                                             CHAPTER: 11


                                                                                  ORDER SETTING BAR DATE FOR FILING
                                                                                         PROOFS OF CLAIM
                                                                                     [FRBP 3003(c)(3); LBR 3003-1]

                                                                                 No hearing: LBR 9013-1(q)
                                                                                 Hearing information
                                                                             DATE:
                                                                             TIME:
                                                                             COURTROOM:
                                                                             ADDRESS:

                                                              Debtor(s)

Based either on a filed motion to set a bar date or on this court’s own motion, IT IS ORDERED THAT:

1.    The general bar date for creditors of the Debtor to file proofs of claim (Bar Date) is (date) October 30, 2016 ,
      with the exceptions set forth in mandatory court form F 3003-1.NOTICE.BARDATE (the “Bar Date Notice”). With
      respect to governmental units, the person completing the notice is responsible for ensuring that it states the correct
      exception. If the stated deadline is incorrect, then the actual deadline is hereby set as the latter of (a) the incorrect
      date stated in the notice, (b) the statutory deadline (11 U.S.C. §§ 101(27) and 502(b)(9)), or (c) the general Bar Date.
//




 .




           This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

 December 2015                                                          Page 1                                       F 3003-1.ORDER.BARDATE
 DOCS_SF:91594.1 52593/002
           Case 2:16-bk-13575-ER                    Doc 178 Filed 08/12/16 Entered 08/12/16 16:35:23                                         Desc
                                                      Main Document    Page 2 of 2


2.        On or before (date) August 30, 2016 , the Committee must serve written notice of the bar date, using the
          Bar Date Notice, on all creditors and the United States Trustee. On or before August 30, 2016, the Committee must
          publish the Bar Date Notice in Mandarin one time in The World Journal, as translated from the English Bar Date
          Notice, for the purpose of providing notice to unknown creditors and potential creditors of the Debtor.

3.            Other (specify):

    (a) for claims arising from the rejection of executory contracts or unexpired leases pursuant to 11 U.S.C. § 365, the last
    day to file a proof of claim will be the later of thirty (30) days after the date of entry of the order authorizing the rejection,
    or October 30, 2016;

    (b) for claims arising from the avoidance of a transfer under chapter 5 of the Bankruptcy Code, the last day to file a
    proof of claim will be the later of thirty (30) days after the entry of judgment avoiding the transfer or October 30, 2016; and

    (c) for claims of governmental units that arose before the Petition Date, the last day to file a proof of claim will also be
    October 30, 2016, which is more than 180 days after the date of the Order for Relief in this case.

                                                                             ###




                   Date: August 12, 2016




.




             This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2015                                                             Page 2                                       F 3003-1.ORDER.BARDATE
DOCS_SF:91594.1 52593/002
